
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed the order denying intervention and vacatur of a prior judgment, dismissed upon the ground that that portion of the Appellate Division order does not finally determine the action within the meaning of the Constitution (see, Cohen and Karger, Powers of the New York Court of Appeals § 46 [b], at 193; § 36 [c], at 144). Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed the order and judgment dismissing the petition brought pursuant to CPLR 5239, denied. Twenty dollars costs and necessary reproduction disbursements to respondents Klein and Banque Francaise.
